       Case 1:21-cr-00040-RJJ ECF No. 9, PageID.48 Filed 03/08/21 Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION


UNITED STATES OF AMERICA,                              CASE NO. 1:21-cr-00040-RJJ
                     Plaintiff,

v.                                                     HON. ROBERT J. JONKER
                                                       United States Judge

LEESA BETH VOGT,
                               Defendant.              DEFENDANT’S PRETRIAL CONFERENCE
                                                       SUMMARY STATEMENT


       Defendant LEESA BETH VOGT through counsel, submits the following initial pretrial
conference statement.

I.       DISCOVERY

         [✓ ]    The defendant requests disclosure pursuant to Federal Rules of Evidence 404(b).

         [✓ ]    The defendant [ ✓ ] will [   ] will not provide reciprocal discovery.

II.      TRIAL

         [✓ ]    The defendant requests [ ✓ ] jury [   ] non-jury trial.

III.     MISCELLANEOUS

         [✓ ]    Counsel for defendant is unaware at this time of any known conflict with counsel’s
                 representation of defendant. Counsel will immediately advise the Court if any such
                 conflict becomes known.

         [   ]
            Counsel for defendant is aware of the following potential conflict(s):
            ____________________________________________________________
____________________________________________________________
____________________________________________________________.


Date: March 8, 2021                                    /s/ Matthew G. Borgula
                                                       Counsel for Defendant
                                                       60 Monroe Center Ave N.W.
                                                       Suite 500
                                                       Grand Rapids, MI 49503
                                                       616.458.5500
